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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                             Case No: 8:19-cr-488-CEH-JSS

 JUAN CARLOS ACOSTA HURTADO

               DEFENDANT’S SENTENCING MEMORANDUM

 COMES NOW THE DEFENDANT, Juan Carlos Acosta Hurtado, by and

 through his undersigned counsel, pursuant to 18 U.S.C. s.3553, and makes this his

 sentencing memorandum, and respectfully says:

 USSG CALCULATION

       The BOL is 34. Safety Valve reduces 2 levels to 32. Minor Role reduces 2

 levels to 30. Having accepted responsibility (see Stipulation of the Parties

 Doc.276) reduces 2 levels to 28. Defendant and Codefendant Quijada Marin went

 to bench trial to preserve issues for appeal, lasting only 35 total minutes on 5/7/21

 Doc.283. The Government is not moving for the additional level reduction under

 s.3E1.1(b), based on the bench trial instead of guilty plea. Without the 3 rd level, the

 TOL is 28, with no criminal history resulting in a recommended range of 78-97

 months (the 10 year min/man is waived based on Safety Valve Qualifications).

 Based on the legal policy reasons of s.3E1.1(b) of saving money and time for the

 Court and Government, including a 1. Post-Miranda full confession; 2. avoided a


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 multiple witness, coast guard crew, jury trial; 3. Stipulation to facts in doc 276; 4.

 bench trial that lasted a mere 35 minutes (minutes doc.283), saving the court and

 the government the enormous amount of time and expense of a multiple witness

 jury trial, which are the policy bases considerations upon which the government

 motion under 3E1.1(b) is based; 5. equal protection and application of law to

 similarly situated codefendants with similar criminal histories, and the other

 codefendants received the 3rd level motion by the government, and the only

 distinction was a stipulated facts bench trial to preserve legal issues versus a

 factual basis change of plea; and 6. Due Process that applies at sentencing, infra,

 and given a whole coast guard crew and others, as well as full time trial Court

 Certified Interpreters, did not have to appear for a lengthy trial, the Defendant is

 moving for an additional level reduction under 18 USC 3553 factors:

 1. Legal Policy Reasons. Including having completed with the policy reasons

 upon which 3E1.1(b)’s additional level is based, including a full post-Miranda

 confession, avoiding a whole USCG Crew having to testify in trial, among other

 witnesses, needing full time interpreting for any defendant who went to trial,

 slowing down the pace of the trial and adding to the court expense of trial, and

 avoiding the expending of the Court’s and Government’s resources and time, by

 having a 35 minute, stipulated facts, bench trial instead:

 (b) If the defendant qualifies for a decrease under subsection (a), the offense level
 determined prior to the operation of subsection (a) is level 16 or greater, and upon
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 motion of the government stating that the defendant has assisted authorities in the
 investigation or prosecution of his own misconduct by timely notifying authorities
 of his intention to enter a plea of guilty, thereby permitting the government to
 avoid preparing for trial and permitting the government and the court to allocate
 their resources efficiently, decrease the offense level by 1 additional level.

 and Commentary n.6, in pertinent part:

 Subsection (b) provides an additional 1-level decrease for a defendant at offense
 level 16 or greater prior to operation of subsection (a) who both qualifies for a
 decrease under subsection (a) and has assisted authorities in the investigation or
 prosecution of his own misconduct by taking the steps specified in subsection (b).
 Such a defendant has accepted responsibility in a way that ensures the certainty of
 his just punishment in a timely manner, thereby appropriately meriting an
 additional reduction.

 2. Equal Protection and Due Process. Including being consistent with the 18

 USC 3553 factor of similarly situated defendants with similar (no) prior record

 history, being sentenced similarly, 18 USC 3553 adopting Equal Protection and

 Application of law principles, U.S.Const.Amend.XIV. and Due Process Tenets.

 U.S.Const.Amend.V.

    Since the Government is not moving for the extra level reduction under

 3E1.1(b), the Defendant is moving the Court to grant an extra reduction under 18

 USC s.3553 factors. Were the Court to grant this additional level, the TOL would

 be 27, not 28, resulting in a recommended sentencing range of 70-87 months.

    The Defendant is moving for a 70 months prison sentence, followed by 5

 years supervised release, Counts 1 and 2 to be run concurrently, consistent

 with the similarly situated, similar no prior records, Codefendants in this case


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 whom have received 70 months, infra. Defendant submits that a 70 month

 sentence is sufficient, but not greater than necessary, to accomplish the goals

 of sentencing, and submits that any more than a 70 month sentence would be

 greater than necessary and result in an unreasonable sentence, under 18 USC

 s.3553(a), and in a violation of Equal Protection and Application of law, and

 Due Process principles.

 Sufficient but not greater than necessary, 18 USC s.3553(a)

        Of course the Courts ought to impose sentences that “are not greater than

 necessary” to comply with the need for the sentence imposed (18 USC s.3553(a)

 and (a)(2)).

 The Courts when determining the particular sentence to be impose ought to

 consider the 7 factors and/or policy statements outlined in 18 USC s.3553(a)(1)-

 (7):

 (a) Factors To Be Considered in Imposing a Sentence.— The court shall impose
 a sentence sufficient, but not greater than necessary, to comply with the purposes
 set forth in paragraph (2) of this subsection. The court, in determining the
 particular sentence to be imposed, shall consider—
 (1) the nature and circumstances of the offense and the history and characteristics
 of the defendant;
 (2) the need for the sentence imposed—
 (A) to reflect the seriousness of the offense, to promote respect for the law, and to
 provide just punishment for the offense;
 (B) to afford adequate deterrence to criminal conduct;
 (C) to protect the public from further crimes of the defendant; and
 (D) to provide the defendant with needed educational or vocational training,
 medical care, or other correctional treatment in the most effective manner;
 (3) the kinds of sentences available;
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 (4) the kinds of sentence and the sentencing range established for—
 (A) the applicable category of offense committed by the applicable category of
 defendant as set forth in the guidelines—
 (i) issued by the Sentencing Commission pursuant to section 994 (a)(1) of title 28,
 United States Code, subject to any amendments made to such guidelines by act of
 Congress (regardless of whether such amendments have yet to be incorporated by
 the Sentencing Commission into amendments issued under section 994 (p) of title
 28); and
 (ii) that, except as provided in section 3742 (g), are in effect on the date the
 defendant is sentenced; or
 (B) in the case of a violation of probation or supervised release, the applicable
 guidelines or policy statements issued by the Sentencing Commission pursuant to
 section 994 (a)(3) of title 28, United States Code, taking into account any
 amendments made to such guidelines or policy statements by act of Congress
 (regardless of whether such amendments have yet to be incorporated by the
 Sentencing Commission into amendments issued under section 994 (p) of title 28);
 (5) any pertinent policy statement—
 (A) issued by the Sentencing Commission pursuant to section 994 (a)(2) of title 28,
 United States Code, subject to any amendments made to such policy statement by
 act of Congress (regardless of whether such amendments have yet to be
 incorporated by the Sentencing Commission into amendments issued under section
 994 (p) of title 28); and
 (B) that, except as provided in section 3742 (g), is in effect on the date the
 defendant is sentenced. [1]
 (6) the need to avoid unwarranted sentence disparities among defendants with
 similar records who have been found guilty of similar conduct; and
 (7) the need to provide restitution to any victims of the offense.

             REASONS AND MOTIONS TO VARY DOWNWARD

 I. A 70 Month Sentence: 18 USC 3553(a)(6) the need to avoid unwarranted
 sentence disparities among defendants with similar records who have been
 found guilty of similar conduct; Equal Protection and Application of Law;
 Due Process

 The Codefendants in this case have been described as all meriting a minor role,

 except the Captain and the head engineer. Because these minor role Codefendants

 all qualified for Safety Valve too, they ended up with a TOL of 27 after pleading
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 guilty, resulting in a sentence of 70 months (low end of the range of 70-87

 months). Codefendant Marcano Morales received 60 months, 10 months lower

 than the others, but was the first Codefendant to plea guilty. In order as they

 appear in the Indictment, and their sentencing dynamic, are:

 1. Asbrubal Quijada Marin: Participated in pretrial motions; 5/7/21 went to

 Bench Trial with Defendant, lasting a total of 35 minutes Doc.283. Sentencing is

 pending;

 2. Defendant, Juan Carlos Acosta Hurtado: Participated in pretrial motions;

 Stipulated to facts Doc.276, went to Bench Trial with Codefendant Quijada Marin

 on 5/7/21 which lasted a total of 35 minutes Doc.283;

 3. Rafael Antonio Querales Grafe: Participated in pretrial motions; 4/27/21

 change of plea without a plea agreement to Counts 1 and 2, with notice of elements

 filed and a (Doc.224 factual stipulation) (Doc.272 COP hearing); sentenced to 70

 months FBP, followed by 5 years sup. rel, concurrently to Counts 1 and 2. He was

 Cr.Hx.I, safety valve, minor role, TOL 27 (70-87 months range) (Doc.328

 sentencing)

 4. Edwin Ramon Marcano Morales: Participated in pretrial motions; 12/21/20

 pled guilty to Count 1 only, pursuant to a (Doc.190 plea agreement), the

 Government motion for 2 levels reduction (Doc.232) was granted at (Doc.243




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 sentencing), resulting in 64 months FBP, followed by 5 years sup. rel. Defendant

 with a minor role, safety valve, Cr.Hx.I, had a TOL 27 (70-87 months range);

 5. Juan Carlos Diaz Morales: Participated in pretrial motions; 4/1/21 pled guilty

 to Counts 1 and 2, without a plea agreement, a notice of elements having been filed

 by the Government (Doc.253 sentencing), resulting in a 7/1/21 sentence of 70

 months FBP, followed by 5 years sup. rel. His TOL was 27, Cr.Hx.I, minor role

 and safety valve; (70-87 months range);

 6. Henry Jose Marquez: Participated in pretrial motions; 4/27/21 pled guilty

 without a plea agreement to Counts 1 and 2, with notice of elements filed and a

 (Doc.224 factual stipulation) (Doc.272 COP hearing); Sentencing is scheduled for

 8/11/21 at 11:00 a.m. Doc.327.

 7. Jose Rafael Perez Colina: Participated in pretrial motions; On 3/3/21 he pled

 guilty to Count 1 only pursuant to a Plea Agreement (Doc.211) (Doc.217 plea

 hearing); On 6/4/21 he was sentenced to 70 months FBP followed by 5 years sup.

 rel; he had a Cr.Hx.I, was minor role and safety valve, TOL 27 (70-87 months)

 (Doc.304 sentencing).

    As stated above, the Defendant would be at a TOL of 27, also, like the

 Codefendants who were similarly situated as he is: Cr.Hx.I, Minor Role, Safety

 Valve, Accepting Responsibility (Factual Stipulation at Doc.276), except the

 Government is not moving for the third level reduction under s.3E1.1(b) based on


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 his having gone to Bench Trial instead of pleading guilty, resulting in a TOL of 28

 (78-97 months), instead of a TOL of 27 (70-87 months).

   The Defendant moves for a 70 month FBP sentence, followed by 5 years

 supervised release, counts 1 and 2 to run concurrently, to be consistent with 18

 USC 3553(a)(6), and “the need to avoid unwarranted sentence disparities among

 defendants with similar records who have been found guilty of similar conduct”.

 18 USC 3553(a)(6):

 (a) Factors To Be Considered in Imposing a Sentence.— The court shall impose
 a sentence sufficient, but not greater than necessary, to comply with the purposes
 set forth in paragraph (2) of this subsection. The court, in determining the
 particular sentence to be imposed, shall consider—

 (6) the need to avoid unwarranted sentence disparities among defendants with
 similar records who have been found guilty of similar conduct; and

 USSG s.5K2.0 s.20

 “After Booker [fn1], the courts must consider the factors in 18 U.S.C. s.3553(a)

 including subsection (6)…” Federal Sentencing Guidelines Handbook, Text and

 Analysis, 2014-2015 Edition, Roger W. Haines, Jr, Frank O. Bowman, III, and

 Jennifer C. Woll, Thomson Reuters, (“Handbook”), s.5K2.0, Grounds for

 Departure, Generally, at p.1689.

 “Section 3553(a)(6) requires the judge to ‘avoid unwarranted sentence disparities
 among defendants with similar records who have been found guilty of similar
 conduct.’ ‘Disparity gets its content from the purposes of sentencing. Unwarranted
 disparity is different treatment of offenders who are similar in ways that are
 relevant to the purposes of sentencing, or uniform treatment of offenders who
 differ in ways that are relevant to the purposes of sentencing [fn69].’” Defending a
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 Federal Criminal Case, 2010 Edition, Volume II, Federal Defenders of San Diego,
 Inc, at 17-813 (“Federal Defender”), citing and quoting Fifteen Year Review at
 113; Paul J. Hofer, Immediate and Long-Term Effects of United States v. Booker,
 38 Ariz.ST.L.J. 425, 442 (2006).

 “Defendants with similar records convicted of similar conduct vary widely in their
 culpability, risk of recidivism, dangerousness, and rehabilitation needs. Judges
 must now take account of these variations, and uniformity for its own sake is no
 longer the goal of the sentencing system. See Kimbrough, 128 S.Ct. at 574 (“some
 departures from uniformity were a necessary cost of the remedy we adopted”).
 Judges must now consider the need to avoid unwarranted similarities among the
 defendants who are not similarly situated, as well as unwarranted disparities
 among defendants who are similarly situated. See Gall, 128 S.Ct. at 600
 (approving of the judge’s ‘consider[ation of] the need to avoid unwarranted
 similarities among other co-conspirators who were not similarly situated”
 (emphasis in original). And the judge must consider “any unwarranted disparity
 created by the [guideline] itself.” Kimbrough, 128 S.Ct. at 574; see also id. at 575
 (approving judge’s consideration of the fact that the guideline ‘itself created an
 unwarranted disparity within the meaning of s.3553(a)’).” Federal Defender” at
 17-813, citing and quoting Kimbrough v. U.S, 552 U.S. 85, 128 S.Ct. 558, 169
 L.Ed. 2d 481, 2007 U.S. LEXIS 13082 (2007); and Gall v. U.S, Citations: 552 U.S.
 38, 128 S.Ct. 586, 169 L.Ed. 2d 445, 2007 U.S. LEXIS 13083 (2007).

    The need to avoid an unjustified disparity in sentencing among similarly

 situated defendants with similar criminal records, is also consistent with principles

 of Equal Protection and Application of Law U.S.Const.Amend.XIV, and Due

 Process, U.S.Amend.V. (Due Process applies at Sentencing U.S. v. Beaulieu, 900

 F.2d 1537, 1540 (10th Cir. 1990)).

 II. Personal Factors, 18 USC s.3553

 Defendant is 36 (8/6/84). His father is a skilled laborer and his homemaker mother

 passed in 2013 of a heart attack at age 47. His parents separated in 1985, the year

 after Defendant was born. Defendant is close to his family and has three siblings:
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  full brother (age 38) who works in transportation, and two half maternal siblings: a

  35 year old homemaker and a 32 year old mariner brother. Although the Defendant

  is from a modest economic background, he had a pleasant upbringing, enjoying

  playing soccer. Defendant, as a single parent, has raised and supported a son who

  recently graduated high school and turned 18, who has lived with Defendant all his

  life, and whom lives with the Defendant and Defendant’s father, in Defendant’s

  father’s three bedroom, two bathroom home.

  The Defendant is a mariner and fisherman since 2010. He works on large vessels

  that transport cargo (fruit, plants, etc.). He makes about $100.00 per week. He has

  no significant assets.

  He has no prior record, and has not suffered from mental illness or substance

  abuse.

  The Defendant completed 12th grade and then went to university for 4 years,

  studying mechanical fabrication. All he has to do is complete his thesis to get his

  university bachelor’s degree diploma (he left college when his mother passed). In

  prison, he would like to learn English, receive vocational training, and most

  importantly, he would like to make money working to help support his family back

  home in Venezuela.

  III. Personal Cost to Defendant and his family; Cost to Society of Lengthy
  Incarceration



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  It costs $39,365.00 per year to incarcerate offenders, as opposed to $4,465.00

  to supervise offenders in the community

  Defendants ought to be sentenced to enough incarceration to satisfy

  “sufficient[ly]” the goals of punishment in sentencing factors and commission

  policy, while avoiding any “greater than necessary” expense and punishing

  sentence. A sentence which exceeds one that is sufficient, will be “unreasonable”

  and “unfair”. U.S. v. Fernandez, 436 F.Supp. 2d 983 (E.D. Wis. 2006) (According

  to the Federal Defender, infra, the Court in U.S. v. Fernandez, 436 F.Supp. 2d 983

  (E.D. Wis. 2006) imposed a 126 months sentence because the career offender

  guideline range of 188-235 months, was greater than necessary to satisfy

  sentencing purposes, in part due to Sentencing Commission study on unfairness of

  career offender designation, Federal Defender, at p.17-847.

  The Personal and Economic Cost of Incarceration: a reason to Adjust

  Downward

  The Federal Defender lists the following cases with the following tenets:

  “United States v. Chavez, 230 F.3d 1089 (8th Cir. 2000) (Bright, J., concurring)
  (sentence will probably cost taxpayers $836,000, and the defendant his life.
  Guidelines range for nonviolent offenders drains billions from taxpayers and keeps
  potentially productive members of society locked up, causing staggering
  “opportunity costs”).

  United States v. Angelos, 345 F. Supp. 2d 1227 (D. Utah 20040 (cost of mandatory
  61-year-sentence runs to $1,265,000, money that could otherwise be spent on other
  law enforcement or social programs to reduce crime).


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  United States v. Hughes, 825 F. Supp. 866 (D. Minn. 1993) (court noting that “the
  non-rehabilitation purposes of incarceration – retribution, deterrence and
  incapacitation – would all be more than adequately served by a far shorter
  sentence. Both society and the defendant will pay a dear cost for this sentence and
  receive very little in return.”). Federal Defender at pp. 17-866-867.

  IV. Prison has greater significance/impact for this first time offender

  S.3553(a)(2)(A) states in part, a sentence is meant “to provide just punishment for

  the offense” while s.3553(a)(2)(B) states one reason upon which to fashion a

  sentence, is “to afford adequate deterrence to criminal conduct”. The Defendant

  is 32 years old without any prior record, supra.

  The Federal Defender at s.17.05.15 states:

  United States v. Baker, 445 F.3d 987 (7th Cir. 2006) (affirming variance of 78
  months from 108 months for defendant convicted of distributing child
  pornography, justified in part by judge’s finding that prison would mean more to
  this defendant than one who has been imprisoned before, which resonated with
  goal of “just punishment” in s. 3553(a)(2)(A) and “adequate deterrence” in Section
  3553(a)(2)(B)).

  United States v. Paul, 239 F. Appx 353 (9th Cir. 2007) (defendant’s 16-month
  sentence, the top end of the guideline range for unlawful receipt of federal funding,
  was unreasonably high because defendant was a first-time offender, returned the
  funds, and displayed remorse).

  United States v. Weidner, 209 F. Appx 826 (10th Cir. 2006) (affirming variance
  from advisory range of 78-97 months to 60 month sentence for two counts of false
  bank entry considering defendant’s loss of law license due to conviction and
  judgment that this sentence provided adequate deterrence).

  United States v. Jewell, 2009 WL 1010877 (E.D. Ark. April 15, 2009) (defendant
  sentenced to 30 months in prison for aiding and abetting tax evasion, because
  guideline range near the statutory maximum of 5 years was inappropriate for first
  time offender).


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  United States v. Cull, 446 F. Supp. 2d 961 (E.D. Wis. 2006) (non-guideline
  sentence of 2 months in jail and 4 months home confinement, where advisory
  range was 10-14 months for marijuana offense by defendant who had never been
  confined, was sufficient to impress on him the seriousness of his crime and deter
  him from reoffending).

  United States v. Qualls, 373 F. Supp. 2d 873, 877 (E.D. Wis. 2005) (generally, a
  lesser prison term is sufficient to deter one who has not been subject to prior
  lengthy incarceration).

  V. Harsh Effect on Innocent family members

        The Defendant has been the only parent in his son’s life, the mother’s

  whereabouts are unknown. The Defendant has raised him spiritually and

  economically, and they live with as a family of 3 with Defendant’s father in

  Defendant’s father’s house. The Defendant’s young adult son, just having turned

  18, just having graduated high school, needs his father in his life, as the only parent

  that has always been there for him, as a loving, supportive, parental and father.

  Defendant’s father, in the grandparent generation now, also needs the help of

  Defendant’s economic support for the household income needs, and with raising

  his 18 year old grandson, the Defendant’s son. The harsh effect incarceration can

  have on innocent family members is a factor courts can consider under s.3553(a),

  Federal Defender at p.17-864, section 17.05.18.01, citing to various cases,

  including U.S. v. Antonakopoulos, 399 F.3d 68 (1st Cir. 2005); U.S. v. Taylor, 280

  Fed. App’x 397 (5th Cir. 2008); U.S. v. Dominguez, 296 F.3d 192 (3d Cir. 2002);

  U.S. v. Prisel, 316 Fed. App’x 377 (6th Cir. 2008); U.S. v. Owens, 145 F.3d 923 (7th


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  Cir. 1998); U.S. v. Lehmann, 513 F.3d 805 (8th Cir. Jan. 17, 2008); U.S. v.

  Menyweather, 431 F.3d 692 (9th Cir. 2005); U.S. v. Leon, 341 F.3d 928 (9th Cir.

  2003); U.S. v. Aguirre, 214 F.3d 1122 (9th Cir. 2000); U.S. v. Garcia-Salas, 260

  Fed. App’x 27 (10th Cir. 2007); U.S. v. Gauvin, 173 F.3d 798 (10th Cir. 1999); U.S.

  v. Davis, 2008 WL 2329290 (S.D.N.Y. June 5, 2008); U.S. v. Crawford, 2007 WL

  2436746 (E.D. Wis. Aug. 22, 2007); U.S. v. Boeka, 2006 WL 3789499 (D. Neb.

  Dec. 20, 2006); U.S. v. Bortnick, 2006 WL 680544 (E.D. Pa. March 15, 2006);

  U.S. v. Bailey, 369 F. Supp. 2d 1090 (D. Neb. 2005); U.S. v. Manasrah, 347 F.

  Supp. 2d 634 (E.D. Wis. 2004); U.S. v. Mateo, 299 F. Supp. 2d 201 (S.D.N.Y.

  2004); U.S. v. Colp, 249 F.Supp. 2d 740 (E.D. Va. 2003); U.S. v. Lopez, 28 F.

  Supp. 2d 953 (E.D. Pa. 1998).

  VI. after a significant sentence term in prison, at some point, studies say,
  longer sentences lose any more efficacy at deterence

  To afford adequate deterrence to criminal conduct.

        The Defendant will be deported upon completing the incarcerative portion of

  his sentence, given he was brought to the U.S. solely for this prosecution. Research

  has consistently shown that while the certainty of being caught and punished has a

  deterrent effect, “increases in severity of punishments do not yield significant (if

  any) marginal deterrent effects.” Michael Tonry, Purposes and Functions of

  Sentencing, 34 Crime & Just. 1, 28 (2006) “Three National Academy of Science

  panels… reached that conclusion, as has every major survey of evidence.” Id.;
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  Please see also Zvi D. Gabbay, Exploring the Limits of the Rerstrative Justice

  Paradigm: Restorative Justice and Sentence Severity: An Analysis of Recent

  Research (1999), summary available at

  http://members.lycos.co.uk/lawnet/SENTENCE.PDF. The report, commissioned

  by the British Home Office, examined penalties in the United States as well as

  several European Countries. Id. at 1. It examined the effects of changes to both the

  certainty and severity of punishment. Id. While significant correlations were found

  between the certainty of punishment and crime rates, the “correlations between

  sentence severity and crime rates…were not sufficient to achieve statistical

  significance.” Id. at 2. The report concluded that the “studies reviewed do not

  provide a basis for inferring that increasing the severity of sentences is capable of

  enhancing deterrent effects.” Id. at 1.

  Wherefore, the Defendant, Juan Carlos Acosta Hurtado, by and through his

  undersigned counsel, prays this Honorable Court enter its order granting his

  motion for one level downward variance, and in any event, sentencing him to no

  more than 70 months prison, followed by 5 years supervised release.




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                            CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that a copy of the foregoing has been furnished to the U.S.

  Attorney’s Office, and all electronically connected parties, Via Electronic Filing,

  on Friday 7/30/21.

                       CERTIFICATE OF TYPE AND FONT
                       COMPLIANCE WITH LOCAL RULES

  This memorandum is typed in double spaced, with 14 point Times New Roman

  font; indented quotations are single spaced and at least 13 point font; footnotes are

  single spaced and 12 point font; has 1.00 inch margins; page numbers bottom

  center. Effective 2/1/21 New Local Rules 1.08 (governing the form of a pleading,

  motion, or other paper) and it is 16 (no more than 25) pages long Rule 3.01 -

  Motions and Other Legal Memorandums.

  Respectfully submitted,
  /s/ Jorge León Chalela
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